 Case 7:19-cv-00599-MFU Document 9 Filed 09/30/19 Page 1 of 1 Pageid#: 241
                                                                             CE U S DIST.COZW
                                                                CLERK'SA
                                                                       O7FR
                                                                          FVFINjujIvA
                                                                              LED

                 IN THE UNITED STATESDISTRICT COURT $EF 3C X1S
                 FOR TXE W ESTERN DISTRICT OF W RGINIAJX!c uEvcuu-                    ,
                              R OAN OW     D IW SIO N              BY:                    '
                                                                         o       CL

DAW D BRO O KS,                     )
                                    )CaseNo.:7:19-CV-599
      Plaintiff& Counter-Defendanty )
                                    )
                                    )
RISK M ANAGEM ENT PROGRAM S,)By: MichaelF.Urbansld
IN C.,                              )    ClziefUnited StatesD istrictJudge
                                    )
                                    )
      Defendant& Counter-plaintiff. )
                                      O RD E R

      Thepartieshavenodfiedthecourtthattheyjointlyséptzlateto thedismissalofthe
above-capdoned action w1t.
                         11prejudice ptusuantto Rule 41(a)(1)(A)(ii).Accorclingly,itis
ORDERED thatthisactionishetebyDIVM ISSED withptejudice,with eachpartybeating
itsow n feesand costs.

      Itisso O RD E RED .


                                       sntered,ov/a.://1

                                       M ichaelF.Urbanski
                                       ChiefUnited StatesDisttictludge
